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                                                                                 FILED
                                                                            JAMES J. \//LT JR
                            UNITED STATES DISTRICT COURT                                  •   · - CLERK
                            WESTERN DISTRICT OF KENTUCKY                           FEB 2 2 2023
                                    AT LOUISVILLE
                                                                             U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                    WEST'N. DIST. KENTUCKY

                                                                    INDICTMENT
V.

                                                              NO.   ~: J-3-GO--K>-mtl
LEVELLE O'BANNON                                                    18 U.S.C. § 922(g)(l)
JENNIFER O'BANNON                                                   18 U.S.C. § 924(a)(l)(A)
                                                                    18 U.S.C. § 924(a)(2)
                                                                    18 U.S.C. § 924(d)
                                                                    28 U.S.C. § 2461

The Grand Jury charges:

                                            COUNTl
                          (Possession of a handgun by a convicted felon)

         On or about June 23 , 2020, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, LEVELLE O'BANNON, knowingly possessed, in and affecting

commerce, a Smith & Wesson, SD9, 9 millimeter pistol bearing serial number FZW3043 , and a

Ruger, PC Carbine, 9 millimeter rifle, bearing serial number 910-98442, and ammunition, with

knowledge that he had previously been convicted in a court of a crime punishable by imprisonment

for a term exceeding one year, to wit:

        On or about April 28, 1994, in Jefferson County Kentucky, in Jefferson Circuit
        Court, Case Number 93-CR-2811 , LEVELLE O'BANNON was convicted of
        Facility to assault I, and Facility to robbery I.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(2).
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The Grand Jury further charges:

                                           COUNT2
                         (False statement during purchase of a firearm)

       On or about March 19, 2020, in the Western District of Kentucky, Jefferson County,

Kentucky, the defendant, JENNIFER O'BANNON, did knowingly make a false statement and

representation to Academy Sports + Outdoors, a business licensed under the provisions of Chapter

44 of Title 18, United States Code, with respect to information required by the provisions of

Chapter 44 of Title 18, United States Code, to be kept in the records of Academy Sports +

Outdoors, in that the defendant did execute a Department of Justice, Bureau of Alcohol, Tobacco,

Firearms, and Explosives form 4473 , Firearms Transaction Record, to the effect that she was the

actual buyer of the a Smith & Wesson, SD9, 9 millimeter pistol bearing serial number FCA1098,

a Smith & Wesson, SD9, 9 millimeter pistol bearing serial number FZW3043 , and a Ruger, PC

Carbine, 9 millimeter rifle, bearing serial number 910-98442, and ammunition.

       In violation of Title 18, United States Code, Sections 924(a)(l )(A).



                                   NOTICE OF FORFEITURE

       As a result of committing an offense, in violation of Title 18, United States Code, Sections

922(g)(l), 924(a)(l)(A) and 924(a)(2), as specifically charged in Counts 1 and 2 of this Indictment,

the defendants, LEVELLE O'BANNON and JENNIFER O'BANNON, shall forfeit to the

United States, all firearms and ammunition involved in the commission of said offense, including,

but not limited to a Smith & Wesson, SD9, 9 millimeter pistol bearing serial number FCA1098, a




                                                 2
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UNITED STATES OF AMERICA v. LEVELLE O' BANNO                    et al.

                                                           PENALTIES

Count 1: NM 10 yrs./$250,000/both/NM 3 yrs. Supervised Release
Count 2: NM 15 yrs./$250,000/both/NM 3 yrs. Supervised Release
Forfeiture

                                                              NOTICE

ANY PERSON CONVICTED OF A OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSME TS, FINES, RESTIT TIO & COSTS.


SPECIAL ASSESSME TS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11 , 1984, as follows:

          Misdemeanor:            $ 25 per count/individual               Felony:         $100 per count/individual
                                  $125 per count/other                                    $400 per count/other

FINES

In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571 , 3572, 36 11 , 3612

Failure to pay fine as ordered mav subject you to the following:

          I.   INTEREST and PE ALTIES as applicable by law according to last date of offense.

                     For offenses occurring after December 12, 1987:

                     No INTEREST will accrue on fines under $2,500.00.

                     I TEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                     the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                     following the two week period after the date a fine is imposed.

                     PE ALTIES of:

                     10% of fine balance if payment more than 30 days late.

                     15% of fine balance if payment more than 90 days late.

          2.         Recordation of a LIEN shall have the same force and effect as a tax lien.

          3.         Continuous GARNISHMENT may apply until your fine is paid.

          18 U.S.C. §§ 3612, 3613

                     If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                     ofnot more than the greater of $10,000 or twice the unpaid balance of the fine; or
                     IMPRISONME T for not more than I year or both. 18 U.S.C. § 3615
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RESTITUTION

If you are convicted ofan offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

           l.        That you deposit the entire fine amount (or the amount due under an installment schedule
                     during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

          2.         Give bond for payment thereof.

           18 U.S.C. § 3572(g)

PAYME TS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                     LOUISVILLE:                      Clerk, U.S. District Court
                                                      l06 Gene Snyder U.S. Courthouse
                                                      601 West Broadway
                                                      Louisville, KY 40202
                                                      502/625-3500

                     BOWLING GREEN:                   Clerk, U.S. District Court
                                                      120 Federal Building
                                                      241 East Main Street
                                                      Bowling Green, KY 42I0 1
                                                      270/393-2500

                     OWE SBORO:                       Clerk, U.S. District Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 42301
                                                      270/689-4400

                     PADUCAH:                         Clerk, U.S. District Court
                                                      127 Federal Building
                                                      50 I Broadway
                                                      Paducah, KY 42001
                                                      270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
